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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                 March 11, 2016
                           UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JUAN VILLANUEVA,                                 §
                                                 §
         Plaintiff,                              §
VS.                                              §   CIVIL ACTION NO. 7:15-CV-135
                                                 §
ALLSTATE TEXAS LLOYDS,                           §
                                                 §
         Defendant.                              §

                      ORDER ON STIPULATION OF DISMISSAL

       After considering the parties’ stipulation of dismissal, the Court

       GRANTS the stipulation and dismisses Plaintiff Juan Villanueva’s claims asserted

against Defendant Allstate Texas Lloyds with prejudice.

       SO ORDERED this 11th day of March, 2016, at McAllen, Texas.


                                                 ___________________________________
                                                 Randy Crane
                                                 United States District Judge




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